(Rev. 10/19) Judgment in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                             for the
                                                        District of Alaska

     ASSOCIATION OF VILLAGE COUNCIL
            PRESIDENTS, et al.,                                 )
                Plaintiffs and Intervenor-Plaintiff,
                                                                )
                                 v.                             )      Civil Action No. 3:23-cv-00074-SLG
                                                                )
          NATIONAL MARINE FISHERIES                             )
                SERVICE, et al.,
             Defendants and Intervenor-Defendants.

                                             JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT Plaintiffs’ and Intervenor-Plaintiffs’ claims are DISMISSED WITH PREJUDICE.




APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                                                      Candice M. Duncan
Date: March 11, 2025                                                                  Candice M. Duncan
                                                                                        Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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